    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 1 of 25




                      United States District Court
                     Middle District of Pennsylvania


Jasmine Malseed,                     )
                                     )
                   Plaintiff,        )
                                     )
            v.                       )
                                     )
Penbrook Borough,                    )       Docket No.
Susquehanna Township,                )
Dauphin County,                      )
Officer Isaac Tritt,                 )
Sergeant Aaron Osman, and            )
Ryan Lindsley,                       )
                                     )
                   Defendants.       )

                                 Complaint
      Jasmine Malseed brings this action against Defendants Penbrook

Borough, Susquehanna Township, Dauphin County, Officer Isaac Tritt,

Sergeant Aaron Osman, Ryan Lindsley, and John and Jane Doe

defendants and states as follows:


 Summary of Civil Rights Case for Unreasonable Search and Seizure,
             Excessive Force, and Municipal Liability

      1.    The entire incident giving rise to this civil rights complaint

was captured on video.

      2.    In the late morning on August 10, 2021, Defendant Officers

Tritt, Osman, and Lindsley nonchalantly stood for three minutes

                                    1
     Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 2 of 25




outside of the private residence at 2704 Boas St., Harrisburg, PA

17103, where the then 19-year-old Jasmine Malseed was alone and

unclothed inside her home after recently getting up and getting ready

for the day. No sound could be heard from inside the home; the doors

and windows were closed.

         3.   Defendant Tritt repeatedly knocked on Jasmine’s door. She

eventually answered, half naked with a towel around her. She advised

him that she did not wish to talk to the officers because she was not

wearing any clothing. Jasmine began to shut her door. Defendant Tritt

then violently, and without regard to the safety of the naked teenager

standing in front of him, kicked in the door. The door struck Jasmine’s

head with enough force to send her flying backwards, splitting her

forehead down the middle. She lay screaming and shaking on the floor.

         4.   The Defendant Officers then broke into and entered

Jasmine’s home and unlawfully searched it for about fifteen minutes

before leaving. The incident did not lead to any criminal charges being

filed.

         5.   Before he was hired by Penbrook Borough, Officer Tritt had

been arrested and charged with impersonating a federal officer. He lied

to a school principal that he was a CIA agent and claimed he had

authority to search student records. Despite this clear disregard for the

                                    2
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 3 of 25




law and people’s privacy rights, Penbrook hired him as a police officer,

leading to the foreseeable result of him abusing his authority to

terrorize Ms. Malseed and illegally search her home.


                               The Parties

      6.    Plaintiff Jasmine Malseed resides in Steelton, Dauphin

County, Pennsylvania, 17113.

      7.    Dauphin County is a county in central Pennsylvania with

offices located at 2 South Second Street, Harrisburg, PA 17101, that

creates law enforcement policy and provides funding, training,

prosecutorial administration, and other resources to Penbrook Police

Department and Susquehanna Township Police Department.

      8.    Penbrook Borough is a central Pennsylvania borough with

offices located at 150 S. 28th Street, Penbrook, PA 17103, that creates

law enforcement policy and provides funding, training, prosecutorial

administration, and other resources to Penbrook Police Department.

      9.    Susquehanna Township is a central Pennsylvania

Township with offices at 1900 Lingelstown Rd., Harrisburg, PA 17110,

that creates law enforcement policy and provides funding, training,

prosecutorial administration, and other resources to the Susquehanna

Township Police Department.

      10.   Defendant Isaac Tritt has been employed by the Penbrook
                                    3
        Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 4 of 25




Police Department from February 4, 2019, through the present. Officer

Tritt was acting under color of state law at all relevant times. He is

sued in his individual and official capacity.

         11.   Defendant Ryan Lindsley was a Susquehanna Township

police officer on August 10, 2021; he remained an officer through

November of 2021, after which he became a personal trainer in

Elizabethville, Pennsylvania. Officer Lindsley was acting under color of

state law at all relevant times. He is sued in his individual and official

capacity.

         12.   Defendant Aaron Osman is a Susquehanna Township

police officer who held the rank of sergeant on August 10, 2021.

Sergeant Osman was acting under color of state law at all relevant

times. He is sued in his individual and official capacity.


                             Jury Trial Demand

         13.   Ms. Malseed demands trial by jury on all issues triable by a

jury.


                           Jurisdiction and Venue

         14.   This action arises under 42 U.S.C. § 1983.

         15.   Jurisdiction is proper under 28 U.S.C. §§ 1331 (federal

question) and 1343 (civil rights).


                                      4
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 5 of 25




        16.   Venue is proper in the Middle District of Pennsylvania

under 28 U.S.C. § 1391(b)(2) because a substantial part of the events

or omissions giving rise to the claim occurred in Dauphin County,

Pennsylvania.

                                  Facts

 Defendant Officer Tritt Illegally Kicked In the Door to Ms. Malseed’s
 Home Knowing that Doing So Would Severely Injure Her; All Officers
 Then Illegally Searched Her House; No Criminal Charges Were Filed

        17.   In about June 2021, Plaintiff Jasmine Malseed moved into

her mother’s single-family home located at 2704 Boas St., Harrisburg,

PA 17103. Jasmine previously was living with her father.

      18.     At the time, Jasmine was 19 years old and worked at a

Wendy’s restaurant around the corner from her mother’s home.

      19.     On August 10, 2021, at around 11:48 a.m., Defendant police

officers casually approached the 2704 Boas Street property, peering

around the exterior in an apparent attempt to determine if anyone was

home.

      20.     A female crisis intervention team “co-responder” named

Lydia Hoke accompanied police to the home. According to various

Dauphin County government internet sites, a “Co-Responder” is a

mental health professional embedded within the police department to

help officers respond to an individual having a behavior health crisis.

                                    5
     Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 6 of 25




They are also supposed to de-escalate potentially confrontational

encounters and domestic cases.

      21.   The 2704 Boas Street property had functional surveillance

cameras that recorded sound and color video of the entire incident

giving rise to this complaint.

      22.   The Defendant Officers can be heard stating, “I don’t know

if you heard, Lydia said the cameras do work,” and “the neighbors

called” as they meandered around the property.

      23.   The Defendant Officers and co-responder casually stood

outside of the house, on and next to the front porch, for about three to

four minutes. Officer Tritt knocked on the door and waited for someone

to respond. The officers did not display any urgency about gaining

entry to the house.




                                    6
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 7 of 25




      24.   Officer Tritt knocked on the front door several times, until

Ms. Malseed answered, half naked with a towel around her.

      25.   Their conversation was as follows:

      Officer Tritt: “Hi, how ya doing?”

      Ms. Malseed: “Good”

      Officer Tritt: “The [Penbrook] police department wants to talk to
      you. Can you step out for me?”

      Ms. Malseed: “No, I’m not dressed.”

      Officer Tritt: “What’s that?”

      Ms. Malseed: “I’m not dressed.”

      Officer Tritt: “Okay, I need you to put something on and step
      out.”

      26.   Ms. Malseed again calmly said “no” to “stepping outside”

and began to close her door.




                  [This space intentionally left blank]




                                      7
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 8 of 25




      27.   Before Ms. Malseed could fully shut her door, Officer Tritt

violently kicked the door in with such force that the metal door’s edge

knocked Ms. Malseed backwards into the room and split her forehead

down the middle, causing her to bleed profusely.




                                    8
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 9 of 25




     28.   Officer Tritt then walked into the house. Officer Lindsley

and Sergeant Osman followed behind him. As they walked across the

porch and towards the door, they exchanged puzzled looks and can be

heard saying “what the hell?”




                                  9
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 10 of 25




     29.   As Ms. Malseed lay on her floor, naked, screaming, and

bleeding profusely from the gash in her forehead, the Defendant

officers casually walked into the home and began looking around.




                 [This space intentionally left blank]




                                  10
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 11 of 25




      30.   Officer Tritt roughly commanded Ms. Malseed to hold still

while he grabbed her head. He later briefly held a towel (that Ms.

Malseed had been wearing to cover her naked body) over the gash on

her forehead.




                                  11
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 12 of 25




      31.    Officer Tritt then left Ms. Malseed on the floor crying and

bleeding as he began to search Ms. Malseed’s home without reason or

justification.

      32.    After trespassing and illegally searching Ms. Malseed’s

home for about seven minutes, Officer Tritt finally communicated his

alleged reason for being there, stating, “Where’s your mom at? So why

are we getting calls about someone fighting over here? They heard

crashing, screaming at each other, things banging around.”

      33.    Hearing no response, Officer Tritt and the other officers

eventually left the home, while Ms. Malseed remained sitting on her

couch, visibly traumatized, shaking and crying.




      34.    None of the Defendants apologized to Ms. Malseed or

showed any remorse for their clearly unconstitutional actions and

intentional battery of a 19-year-old naked woman in her home.

                                    12
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 13 of 25




      35.   Indeed, an objective view of the video demonstrates that

the officers showed disdain for Ms. Malseed.

      36.   No one was arrested or charged with a crime stemming

from the August 10, 2021, unreasonable search and seizure.

                   No Exigent Circumstances Existed
                    Justifying a Warrantless Search

      37.   When the Defendant Officers arrived at Ms. Malseed’s

home, no sound could be heard from outside of the residence. There was

no yelling or other indicia of an argument or physical altercation.

      38.   Indeed, the Defendant Officers’ subjective belief that there

was no imminent threat to anyone inside of the home is evidenced by

their relaxed meandering around the property and the front porch.

They exhibited no urgency or intent to gain entrance until Ms. Malseed

declined consent to enter, at which time Officer Tritt kicked the door in.

      39.   When Ms. Malseed answered the door, the Defendant

Officers observed that she was not distressed or injured.

      40.   Officer Tritt’s stated reason on the surveillance video for

being at Ms. Malseed’s home did not include any reference to a serious

crime in progress or the need to protect a victim from a continued

assault.




                                   13
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 14 of 25




      41.   Defendants did not arrest anyone at Ms. Malseed’s home.

By definition, no search was warranted incident to an arrest.

   The Penbrook Police Department/Penbrook Borough Warrantless
                  Search and Use of Force Policy

      42.   On about August 10, 2021, Jasmin Malseed’s mother,

Cindy Larry, submitted a “Right-To-Know” request under 65 Pa. Stat.

Ann. § 67.101 et. seq.

      43.   In response, the Penbrook Police Department, through

Lieutenant Jesse Foltz, provided Ms. Larry with a partial copy of the

police report that Officer Tritt prepared.

      44.   Lieutenant Foltz refused to provide Ms. Larry with the

narrative portion of the report or any other information, citing 65 Pa.

Stat. Ann. § 67.708, which excludes records relating to criminal

investigations. But no crime is alleged to have occurred at the subject

residence on or around August 10, 2021.

      45.   On August 14, 2021, Lieutenant Foltz sent Ms. Larry a

written explanation for Defendants’ actions, which states that “the

Penbrook Police Department responded to Ms. Larry’s residence for a

report of an active domestic dispute that was believed to be physical in




                                    14
     Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 15 of 25




nature. The 911 call originated from outside of [Ms. Larry’s]

residence.” 1

       46.      Lieutenant Foltz’s letter went on to state that, “Upon the

arrival of the officers, they attempted to make contact at the front door.

Several minutes passed without a response. Officer Tritt did hear

movement inside [the] residence during the time no one answered the

door. Eventually, Jasmine Malseed answered the door dressed in a

towel. Officer Tritt asked Ms. Malseed to come out and speak with him.

Ms. Malseed appeared to Officer Tritt to be out of breath when she

answered the door.”

       47.      The surveillance video demonstrates that Ms. Malseed was

not “out of breath” or distressed, and that no reasonable person could

have construed otherwise.

       48.      The letter then stated, “Officer Tritt asked Ms. Malseed to

put something on to cover up and to speak with him. Ms. Malseed

yelled, ‘no’ and proceeded to shut the door.” The surveillance video

demonstrates that Ms. Malseed did not raise her voice and certainly did

not “yell.”




1 The letter does not state the time that the alleged 911 call was placed nor the time

that the officers arrived at the home.

                                          15
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 16 of 25




      49.   Lieutenant Foltz’s letter went on to justify Defendant

Tritt’s physical assault of Ms. Malseed and warrantless entry and

search of Ms. Malseed’s private residence by invoking Penbrook Police

policy, stating, “This action effectively denied the officers entry into the

home to investigate the dispatched domestic violence call and to ensure

no one was injured.” In other words, according to Lieutenant Foltz’s

letter, Penbrook Police policy dictates that in situations involving

domestic violence calls, a citizen’s mere invocation of her Fourth

Amendment right to refuse entry into her home without a warrant

automatically justifies a warrantless entry.

      50.   Lieutenant Foltz’s letter then expounded on Penbrook

policy and training, stating, “it is not uncommon for victims and

suspects alike to attempt to refuse entry to police in domestic violence

situations.” Lieutenant Foltz thus confirmed again that Penbrook

policy not only permits but encourages warrantless search and seizure

based upon a potential domestic violence victim’s mere invocation of

her Fourth Amendment rights.

      51.   Lieutenant Foltz’s letter indicates that Officer Tritt’s

conduct was in line with Penbrook training, custom, and policy.

      52.   Upon information and belief, Officer Tritt was not

disciplined for his actions.

                                     16
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 17 of 25




      53.   Lieutenant Foltz’s letter is filled with misinformation and

false statements, suggesting that Penbrook investigatory procedures

into officer misconduct are structured to curtail disciplinary action and

stifle the production of information upon request.


                              Legal Claims

                              Count I:
 Section 1983 Claim against Officer Tritt for Use of Excessive Force in
 Violation of the Fourth Amendment to the United States Constitution

      54.   The allegations above are realleged.

      55.   Officer Tritt kicked in Ms. Malseed’s door solely because

Ms. Malseed attempted to close her door and refused to consent to his

unconstitutional demand that she exit her home and permit him entry.

      56.   Interior surveillance video demonstrates that Ms. Malseed

spoke in a normal tone of voice when she said “no” while declining

consent for Officer Tritt to enter her home. Ms. Malseed’s demeanor

was non-combative, non-threatening, and within her constitutional

rights.

      57.   Interior surveillance video further demonstrates the Ms.

Malseed’s attempt to close her door and Officer Tritt’s violent forcible

entry were nearly contemporaneous.




                                    17
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 18 of 25




      58.   Officer Tritt intended to restrain and harm Ms. Malseed

and violate her privacy when he violently kicked in her front door while

she stood behind it and attempted to close it. Officer Tritt’s violent act

of kicking Ms. Malseed’s door into her forehead, followed by his

unauthorized entry and search of her home, reasonably led Ms.

Malseed (and any objective person watching the surveillance video) to

believe that she was not free to close her door or retreat from the police

because Officer Tritt would violently restrain her again.

      59.   Officer Tritt necessarily knew that the force used in

accessing and searching Ms. Malseed’s home by violently kicking in her

door was excessive and would result in severe physical injuries.

      60.   Any reasonable officer in the same circumstances would

have known that kicking in Ms. Malseed’s door would result in severe

injury to Ms. Malseed, as it was apparent that her head and body were

mere inches from the door.

      61.   The force that Officer Tritt used to restrain Ms. Malseed’s

liberty was excessive. Ms. Malseed was an unarmed, naked teenager

who was outnumbered by officers by a margin of three to one. Officer

Tritt had no reason to believe she posed a threat to him or others. Nor

can it be said that Ms. Malseed “resisted arrest” or “evaded arrest”—

Officer Tritt had no arrest warrant and no probable cause to believe

                                    18
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 19 of 25




Ms. Malseed had committed a crime, and he did not attempt to place

Ms. Malseed under arrest before he kicked in her door.

      62.   As a direct and proximate result of Officer Tritt’s unlawful

actions and omissions, Ms. Malseed has suffered and will continue to

suffer damages including, but not limited to physical scarring, physical

pain and suffering, loss of self-confidence, humiliation and

embarrassment, emotional pain and distress, suffering, inconvenience,

mental anguish, loss of enjoyment of life, injury to dignity and personal

wellbeing, and other pecuniary and non-pecuniary losses.

                              Count II:
      Section 1983 Claim against Officer Tritt for Unreasonable
      Search and Seizure in Violation of the Fourth Amendment
                  to the United States Constitution

      63.   The allegations above are realleged.

      64.   When Officer Tritt severely injured Ms. Malseed and then

entered and remained in her home for approximately fifteen minutes,

he unreasonably seized Ms. Malseed’s person.

      65.   In seizing Ms. Malseed’s person, Officer Tritt acted

intentionally. Specifically, he sought to prevent Ms. Malseed from

retreating into her home by striking her in the face with her own door.

Officer Tritt accomplished his objective when Ms. Malseed, in severe




                                   19
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 20 of 25




shock and bleeding from her lacerated forehead, fell to the ground,

unable to move or leave.

      66.   Officer Tritt’s violent act of kicking Ms. Malseed’s door into

her forehead, followed by his unauthorized entry and search of her

home, reasonably led Ms. Malseed (and any objective person watching

the surveillance video) to believe that she was not free to close her door

or retreat from the police because Officer Tritt would violently restrain

her again. Further, Ms. Malseed’s fear and shock rendered her

powerless to escape the Defendant Officers.

      67.   Officer Tritt intentionally and unreasonably searched

Ms. Malseed’s entire home without a warrant, without probable cause,

and without her consent or any other constitutional basis. There was no

ongoing emergency or other exigent circumstances.

      68.   As a direct result of his illegal entry, search, and seizure,

Officer Tritt observed Ms. Malseed’s naked body and otherwise violated

Ms. Malseed’s reasonable expectation of privacy in her home.

      69.   As a direct and proximate result of Officer Tritt’s unlawful

actions and omissions, Ms. Malseed has suffered and will continue to

suffer damages including, but not limited to physical scarring, physical

pain and suffering, loss of self-confidence, humiliation and

embarrassment, emotional pain and distress, suffering, inconvenience,

                                    20
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 21 of 25




mental anguish, loss of enjoyment of life, injury to dignity and personal

wellbeing, and other pecuniary and non-pecuniary losses.

                             Count III:
 Section 1983 Claim against Sergeant Osman and Officer Lindsley for
     Unreasonable Search and Seizure in Violation of the Fourth
            Amendment to the United States Constitution

         70.   The allegations above are realleged.

         71.   Sergeant Osman and Officer Lindsley understood that

Officer Tritt’s actions in kicking in Ms. Malseed’s door, entering her

home, and searching her home were unconstitutional and criminal, but

they failed to intervene.

         72.   Sergeant Osman and Officer Lindsay illegally entered and

searched Ms. Malseed's home without a warrant or other constitutional

basis.

         73.   Sergeant Osman and Officer Lindsley refused to assist Ms.

Malseed as she was crying and screaming in pain and shock. The

Officers’ unauthorized entry and search of her home following Officer

Tritt’s violent refusal to allow Ms. Malseed to retreat into her home

reasonably led her to believe she was not free to leave as the Officers

searched her home.

         74.   As a direct result of their illegal entry, search, and seizure,

Sergeant Osman and Officer Lindsley observed Ms. Malseed’s naked


                                       21
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 22 of 25




body and otherwise violated Ms. Malseed’s reasonable expectation of

privacy in her home.

      75.   As a direct and proximate result of Sergeant Osman and

Officer Lindsley’s unlawful actions and omissions, Ms. Malseed has

suffered and will continue to suffer damages including, but not limited

to physical scarring, physical pain and suffering, loss of self-confidence,

humiliation and embarrassment, emotional pain and distress,

suffering, inconvenience, mental anguish, loss of enjoyment of life,

injury to dignity and personal wellbeing, and other pecuniary and non-

pecuniary losses.

                              Count IV
     Section 1983 Claim against Penbrook Borough, Susquehanna
       Township, and Dauphin County, for Municipal Liability

      76.   The allegations above are realleged.

      77.   Penbrook Borough’s policy and custom permit warrantless

entry into private residences in response to any alleged domestic

dispute when a resident refuses consent to enter, even if there is no

evidence of injury or ongoing violence.

      78.   According to Penbrook’s policy and custom, the act of

refusing an officer’s entry in response to an alleged domestic dispute

triggers the officer’s right to enter under any means necessary.



                                    22
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 23 of 25




      79.   Penbrook officers are trained and taught that it is common

for domestic abuse victims to refuse entry to police in domestic violence

situations, and that officers are thus permitted under Penbrook policy

and custom to forcibly enter a victim’s home.

      80.   Penbrook Borough’s policy and custom effectively vitiates

the Fourth Amendment’s protection from unreasonable search and

seizure.

      81.   Dauphin County is responsible for overseeing and ratifying

Penbrook Borough’s training and policy.

      82.   Susquehanna Township’s policy directs officers to assist

Penbrook Borough officers because Penbrook is understaffed; but it is

customary for Susquehanna officers to refrain from intervening or

correcting Penbrook officers’ constitutional violations.

      83.   Penbrook’s deficient staffing results in its deliberate

acceptance of unqualified officers and inadequate candidate screening.

      84.   For example, before Penbrook hired Officer Tritt, the

United States Attorney’s Office for the Middle District of Pennsylvania

charged Defendant Tritt with impersonating a CIA agent to enter a

school and presenting the school principal with a false search warrant

to illegally search and obtain student documents. Upon information



                                    23
    Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 24 of 25




and belief, Officer Tritt pleaded guilty and entered a diversionary

program.

      85.      Penbrook Borough and Dauphin County knew or should

have known of Officer Tritt’s criminal history and his willingness to

manipulate facts to conduct an illegal search.

      86.      It was highly predictable that Officer Tritt would conduct

searches without a warrant or other constitutional basis. Penbrook

Borough and Dauphin County were deliberately indifferent to the

obvious risk that Officer Tritt would commit such a constitutional

violation.


                                 Prayer for Relief

      87.      Ms. Malseed requests relief against Defendants as follows:

      a. Declare that Defendants violated Ms. Malseed’s civil rights

            under 42 U.S.C. § 1983 to be free from unreasonable search

            and seizure;

      b. Award compensatory damages in amounts to be determined at

            trial by the jury;

      c. Award punitive damages in amounts to be determined at trial

            by the jury;




                                        24
   Case 1:23-cv-01329-SES Document 1 Filed 08/10/23 Page 25 of 25




     d. Award Ms. Malseed full expenses and reasonable attorney’s

        fees;

     e. Award Ms. Malseed prejudgment interest; and

     f. Award such further relief as is deemed appropriate.


Date: August 10, 2023             Respectfully submitted,


                                  /s/ Joseph P. Guzzardo
                                  Joseph P. Guzzardo
                                  Guzzardo & Associates LLC
                                  121 S. Broad Street, Ste. 1600
                                  Philadelphia, PA 19107
                                  Telephone: (205) 718-6691
                                  jguzzardo@guzzardolaw.com

                                  Johson and Webbert LLP
                                  1 Bowdoin Mill Island #300
                                  Topsham, ME 04086
                                  Telephone: (207) 623-5110
                                  jguzzardo@work.law

                                  Braden A. Beard
                                  Sarah K. Austin
                                  Johnson & Webbert, LLP
                                  1 Bowdoin Mill Island, Ste. 300
                                  Topsham, ME 04086
                                  Telephone: (207) 623-5110
                                  bbeard@work.law
                                  saustin@work.law
                                  Pro Hac Vice Motions Forthcoming

                                  Attorneys for Plaintiff




                                 25
